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 1 James E. Holland, Jr. (021826)
   Javier Torres (032397)
 2 STINSON LEONARD STREET LLP
   1850 North Central Avenue, Suite 2100
 3 Phoenix, Arizona 85004-4584
   Tel: (602) 279-1600
 4 Fax: (602) 240-6925
   Email: james.holland@stinson.com
 5         javier.torres@stinson.com
   Attorneys for HKB, Inc., dba Southwest Industrial Rigging
 6
                          UNITED STATES DISTRICT COURT
 7                               DISTRICT OF ARIZONA
 8 HKB, INC., an Arizona corporation,              No. 2:16-cv-03799
   doing business as SOUTHWEST
 9 INDUSTRIAL RIGGING,                             MOTION FOR SUMMARY JUDGMENT
10                                                 RE: STATUTE OF LIMITATION
                                     Plaintiffs,
11 v.                                              Oral Argument requested

12 BOARD OF TRUSTEES FOR THE                       Assigned to the Honorable Diane J.
   SOUTHWEST CARPENTER’S                           Humetawa
13 SOUTHWEST TRUST;
   CARPENTERS SOUTHWEST
14 ADMINISTRATIVE CORP.,
15                                   Defendants.
16
17            Plaintiff HKB, Inc., dba Southwest Industrial Rigging (“Southwest”) moves for
18 summary judgment against defendants Board of Trustees for the Southwest Carpenter’s
19 Southwest Trust and Carpenters Southwest Administrative Corp. (collectively, the
20 “Funds”) because their claims are barred by the one-year statute of limitation contained
21 in A.R.S. § 12-541. Through this lawsuit, the Funds seek to be paid for work performed
22 by Southwest’s non-union employees from September 2013 through December 2014,
23 but the Funds always knew that Southwest only paid for work performed by union
24 carpenters, not for work performed by Southwest’s non-union employees, so the claim
25 was barred within one year after the work was performed. At the very latest, the Funds
26 knew the basis for their claim on October 26, 2015 when they performed an onsite audit
27 of Southwest’s records. Nevertheless, the Funds did not file their lawsuit until October
28 28, 2016, so Southwest’s claim is time barred.

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     1.       Long after the relevant work was completed, the Funds seek to impose
 1
              obligations that Southwest never agreed to.
 2            Southwest is a construction-related company that, among other things, performs
 3 maintenance and repair work at the Palo Verde Nuclear Generating Station just west of
 4 Phoenix (the “Power Plant”) twice a year for 4-6 weeks at a time. 1 Southwest had
 5 previously used carpenters provided by the Southwest Regional Council of Carpenters
 6 (the “Union”) to supplement its workforce for the maintenance and repair work at the
 7 Power Plant.2
 8        The Funds collect payment for various vacation, retirement, and training plans
 9 for the Union members’ benefits. Although Southwest had a history of temporarily
10 hiring Union workers to supplement its workforce at the Power Plant, Southwest never
11 signed a union contract.3 Rather, Southwest simply employed the individual Union
12 carpenters on a piecemeal basis, paying the carpenters (and the Funds) for the work
13 actually performed, but having no obligation beyond the temporary work provided at
14 the Power Plant.4
15       In mid-2013, Tom Allen, a salesman for Southwest, told his supervisors at
16 Southwest that the Union gave him a document titled “Southwest Regional Council of
17 Carpenters – Carpenters Memorandum 2012-2016” (the “Memorandum”), which the
18 Union wanted Allen to sign on Southwest's behalf.5 Allen was only a salesman for
19 Southwest, so he asked his supervisors for direction.6 His supervisors told him he did
20 not have authority to enter such contracts, and indeed Southwest would not agree to the
21 Memorandum.7 Moreover, Southwest could not evaluate the issue further because the
22 Memorandum referenced several documents that Southwest had never seen and did not
23
24
     1
     Statement of Facts (“SOF)” ¶ 1.
25   2
     SOF ¶ 2.
   3
     SOF ¶ 2.
26 4 SOF ¶ 3.
   5
27 6 SOF ¶ 4.
     SOF ¶ 5.
   7
28 SOF ¶ 6.
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 1 have access to.8
 2            Thereafter, Southwest used Union carpenters to perform temp work at the Power
 3 Plant, just as it had been doing for years.9 Consistent with past practices, Southwest paid
 4 for all services rendered by the Union carpenters.10
 5            Several years after Southwest first began hiring and paying for services provided
 6 by the Union’s carpenters, the Funds performed an “audit” regarding Southwest’s
 7 payments to the Funds.11 As a result of the audit, the Funds demanded that Southwest
 8 make additional payments in excess of $490,000, for various health-care, training,
 9 vacation, and pension funds.12 This payment demand was not based upon any work
10 performed by the Union’s carpenters.13 Rather, the Funds demanded payment solely
11 based upon services performed by Southwest’s own employees.14 Apparently, although
12 Tom Allen had been explicitly told that Southwest would not agree to the Memorandum
13 and that he did not have authority to sign the Memorandum, he had signed the
14 Memorandum anyway, and the Funds interpreted the Memorandum as applying to
15 certain Southwest non-union employees.
16            Southwest’s employees are not members of and have no affiliation with the
17 Union.15 Nevertheless, the Funds claimed one of the documents incorporated into the
18 Memorandum says Southwest must pay the Funds for all work performed by
19 Southwest’s employees even though they are not union members and do not receive
20 union benefits.16 In other words, the Funds’ claim that because Southwest hired union
21 carpenters for temporary work at the Power Plant, Southwest is required to pay the
22 Funds for all work performed year-round by Southwest’s non-union employees. As
23
     8
       SOF ¶ 7.
24   9
       SOF ¶ 8.
     10
        SOF ¶ 9.
25   11
        SOF ¶ 10.
     12
        SOF ¶ 11.
26   13
        SOF ¶ 12.
     14
27      SOF ¶ 13.
     15
        SOF ¶ 14.
     16
28      SOF ¶ 15.
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 1 explained in detail below, this claim is untimely because the Funds filed this lawsuit
 2 October 28, 2016—one year and two days after conclusively discovering the basis for
 3 its claim through an onsite audit.
 4            Southwest maintains that it is not bound by the Memorandum, but this motion
 5 disposes of the Fund’s claim based solely on the statute of limitation.
 6 2.         The Funds’ claim is barred by Arizona’s one-year statute of limitation.
 7            Although the Funds’ claim arises from federal ERISA statutes, “ERISA itself
 8 does not contain a statute of limitations applicable to [Southwest’s] claims. Therefore,
 9 the Court must borrow the most analogous state statute of limitations.”17 As this Court
10 concluded in a prior case, Arizona’s “one-year period applicable to ‘employment
11 contract’ disputes is the most analogous state statute of limitations for [ERISA]
12 claims.”18 The California district court, as part of its venue analysis when transferring
13 this case to Arizona, likewise observed that “the statute of limitations [for this case] is
14 governed by Arizona law.”19
15            A.       The Funds’ claim is not subject to the discovery rule, so the claim
                       accrued as the work was performed.
16
              “As a general matter, a cause of action accrues, and the statute of limitations
17
     commences, when one party is able to sue another. The traditional construction of that
18
     rule has been that the period of limitations begins to run when the act upon which legal
19
     action is based took place, even though the plaintiff may be unaware of the facts
20
     underlying his or her claim.”20 That rule has been modified in some instances by the
21
     discovery rule, but “the discovery rule does not apply to cases where the plaintiff's
22
     injury is open and obvious.”21
23
24
     17
      Blood Sys., Inc. v. Roesler, 972 F. Supp. 2d 1150, 1154 (D. Ariz. 2013).
25   18
      Blood Sys., Inc., 972 F. Supp. 2d at 1154 (citing A.R.S. § 12-541).
   19
       U.S. District Court of Arizona – 2:17-cv-00198 (formerly Central District of
26 California CV-16-8040-MWF (SKx)) Civil Minutes—General p.8 (1/17/17), Exhibit 2.
   20
27 21 Gust Rosenfeld v. Prudential Ins., 182 Ariz. 586, 588, 898 P.2d 964, 966 (1995).
      Gust Rosenfeld,182 Ariz. at 589, 898 P.2d at 967; Premium Cigars Intern., Ltd. v.
28 Farmer-Butler-Leavitt Ins. Agency, 208 Ariz. 557, 572, 96 P.3d 555, 570 (App. 2004).
     CORE/3008422.0002/131133167.2
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 1            Southwest’s nonpayment to the Funds was clearly open and obvious. That is, the
 2 Funds certainly knew that they were not receiving monthly payments for Southwest’s
 3 employees. As such, “the cause of action accrues and the statute of limitations begins to
 4 run when the debt becomes due.”22 Under the relevant documents, the Funds’ claim for
 5 payment arose automatically every month, without any action being required by the
 6 Funds or Southwest. “Each contribution to the Fund shall be made promptly, and in any
 7 event on or before the 25th day of the calendar month.”23 Relevant here, the Funds are
 8 seeking payment for work performed by Southwest employees from September 1, 2013
 9 through December 31, 2014.24 Southwest’s nonpayment during at that time was all that
10 was necessary for the claim to accrue and the statute of limitations to begin. So the
11 Funds’ claim is time-barred as a matter of law.
12            B.       Even with the discovery rule, the Funds’ claim is untimely because the
                       claim accrued each month.
13
              Even if the Funds’ claim is subject to the discovery rule (it is not), the claim is
14
     still untimely. For a claim to accrue, “the aggrieved party need not have actual notice of
15
     the [breach] to start the running of the statute, but, if the facts and circumstances were
16
     such as in the exercise of reasonable care and diligence he should have discovered the
17
     [breach], he is deemed to have notice.”25 Put another way, claims accrue when a
18
     plaintiff “suspects” the cause of action exists, even without all the facts.26 And “a
19
     22
20      Cheatham v. Sahuaro Collection Serv., 118 Ariz. 452, 454, 577. P.2d 738, 740 (App.
     1978).
     23
21       Amended and Restated Trust Agreement Establishing the Southwest Carpenters
     Health and Welfare Trust Article III, Section 3; Amended and Restated Trust
22   Agreement Establishing the Southwest Carpenters Pension Trust Article III, Section 3;
     Amended and Restated Trust Agreement Establishing the Southwest Carpenters
23   Vacation Trust Article III, Section 3; Amended and Restated Trust Agreement
24   Establishing the Southwest Carpenters Health and Welfare Trust Article III, Section 3;
     Amended and Restated Trust Agreement Establishing the Southwest Carpenters
25   Training Trust Article III, Section 3, Exhibit 3.
     24
         Central District of California CV-16-8040-MWF (SKx) Complaint ¶ 31 (10/28/16).
     25
26      In re Cassidy’s Estate, 77 Ariz. 288, 295, 270 P.2d 1079, 1084 (1954).
     26
        Thompson v. Pima County, 226 Ariz. 42, 46-47, 243 P.3d 1024, 1028-29 (App. 2010)
27   (claim accrued when plaintiff “suspected” the cause of her injury even though she did
28   not yet know all the facts).
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 1 party’s failure to assert a cause of action does not mean that the cause of action has not
 2 accrued.”27
 3            The Funds have always known that Southwest had non-union employees. Indeed,
 4 Southwest only hired Union workers to temporarily supplement Southwest’s existing
 5 workforce on the Power Plant.28 Moreover, when purportedly signing the
 6 Memorandum, Tom Allen explicitly stated what the Union already knew—that
 7 Southwest had 200 employees of its own.29 Thus, if Southwest was to be contractually
 8 obligated to pay the Funds for work performed by Southwest’s non-union employees,
 9 the Funds knew at the very outset that such payment would be due.
10            The Funds have likewise always known that Southwest was not paying the Funds
11 for work performed by Southwest’s non-union employees. Under the terms of the trust
12 documents, the Funds were to be paid monthly. “Each contribution to the Fund shall be
13 made promptly, and in any event on or before the 25th day of the calendar month.”30
14            Southwest paid the Funds for work performed by Union carpenters during the 4-
15 6 weeks that the Southwest performed maintenance work on the Power Plant, but
16 Southwest never paid the Funds at any other time in the year. 31 What’s more, Southwest
17 never paid the Funds for work performed by Southwest’s own employees.32 Thus, the
18 Funds have always known (or should have known) that they were not receiving
19 payment for work performed by Southwest's employees. Again, the claim at issue in this
20   27
        Cheatham v. Sahuaro Collection Serv, 118 Ariz. 452, 454, 577 P.2d 738, 740 (App.
21   1978).
     28
        SOF ¶ 4; Friedman v. Nagin, 270 A.D. 503, 505, 60 N.Y.S.2d 620, 622 (App. Div.
22   1946) (“[An] assignee stands in the shoes of his assignors and their knowledge is his.”).
     29
        See Exhibit 1, Declaration of James Douglas Wilson, at Exhibit A.
     30
23       Amended and Restated Trust Agreement Establishing the Southwest Carpenters
     Health and Welfare Trust Article III, Section 3; Amended and Restated Trust
24   Agreement Establishing the Southwest Carpenters Pension Trust Article III, Section 3;
     Amended and Restated Trust Agreement Establishing the Southwest Carpenters
25   Vacation Trust Article III, Section 3; Amended and Restated Trust Agreement
     Establishing the Southwest Carpenters Health and Welfare Trust Article III, Section 3;
26
     Amended and Restated Trust Agreement Establishing the Southwest Carpenters
27   Training Trust Article III, Section 5.
     31
        SOF ¶ 16.
     32
28      SOF ¶ 17.
     CORE/3008422.0002/131133167.2
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 1 lawsuit is for work performed through December 31, 2014. The Funds plainly knew that
 2 they had not received monthly payments for work performed by Southwest’s employees
 3 during this time. Thus, the Funds’ claim accrued each month after the work was
 4 performed, so this lawsuit is untimely.
 5            C.       Even if the claim did not accrue as the work was performed each month,
                       it still accrued more than a year before this lawsuit was filed.
 6
               “A plaintiff is deemed to have had constructive knowledge if [he or she] had
 7
     enough information to warrant an investigation which, if reasonably diligent, would
 8
     have led to discovery of the [claim].”33 Knowing that Southwest had not paid for any
 9
     services performed by Southwest’s non-union employees, the Funds requested
10
     documents from Southwest’s records. With its response, dated May 28, 2015,
11
     Southwest produced requested records, including a “Master Control” document, which
12
     contained compensation information of individuals who worked on Southwest projects,
13
     including both Southwest employees and Union members.34 When producing the
14
     Master Control, Southwest redacted the names and social security numbers of its non-
15
     union employees but allowed the Funds to see their job titles, hours, and other
16
     compensation information:35 “Attached find our master control for 2014, attachment
17
     includes pages with the Carpenters Union employees only. I have blacked out non
18
     Carpenters Union employees names and SS# to protect their information.”36
19
              To the extent that the Funds’ claim had not accrued before (it had), there can be
20
     no doubt it accrued at this point. It was now even more of a certainty that non-union
21
     Southwest employees were performing work for which, according to the Funds’
22
     interpretation of the underlying documents, Southwest should have, but did not pay. In
23
     other words, since the Funds knew that they had not been paid for work performed by
24
     Southwest’s employees, they knew enough to make further inquiry. Because they knew
25
   33
      Marceau v. International Broth. of Elec. Workers, 618 F. Supp. 2d 1127, 1146 (D.
26 Ariz. 2009)
   34
27 35 Exhibit 4, Email from Xonia Ornelas to Yolanda Duke (5/28/15).
      Id.
   36
28    Id.
     CORE/3008422.0002/131133167.2
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 1 enough to inquire further, the Funds’ claim had accrued. Indeed, the Funds ultimately
 2 asserted their claim against Southwest solely based upon the work performed by
 3 Southwest’s employees and their hours logged, information that Southwest produced
 4 when it disclosed the Master Control in May 2015.37
 5            Realizing they had a claim to be made, the Funds continued to press Southwest
 6 for more information regarding Southwest’s non-union employees. Specifically, by
 7 letter dated June 4, 2015, they sought (1) a “List of all jobs” performed by Southwest
 8 (not just the Power Plant job), (2) the “Payroll journals on all jobs,” and (3) Copies of
 9 W-2s.38 The Funds’ demand for this information clearly demonstrates that the Funds
10 knew or at least had significant suspicions regarding their claim. Said differently, the
11 Funds were expressly targeting work performed by Southwest’s non-union employees,
12 which necessarily means that the Funds believed that a claim could be made. Indeed, the
13 Funds even threatened to commence legal action against Southwest at that time.
14 “Failure to respond will result in this matter being referred to the [Fund’s] attorney.”39
15            Again, “accrual requires only actual or constructive knowledge of the fact of
16 damage, [not the] calculated amount of damage.”40 The Funds’ audit demand
17 demonstrates that the Funds had enough information to cause them to investigate (and
18 threaten legal action), which means the claim accrued by, at the latest, June 4, 2015.
19 Since they did not file this lawsuit until 16½ months later, their claim is barred by the
20 one-year statute of limitation.
21            As a follow-up, on October 26, 2015, the Funds sent a representative to
22 Southwest’s corporate office to perform an onsite audit of Southwest’s records.41
23 During the on-site audit, the Funds’ representative inspected a copy of the Master
24 Control, but this time the auditor could see the names of Southwest employees that had
25   37
      Exhibit 4.
     38
      Letter from Yolanda Duke to Southwest (6/4/15), Exhibit 5.
26 39See Exhibit 5.
   40
27    CDT, Inc. v. Addison, Roberts & Ludwig, C.P.A., P.C., 198 Ariz. 173, 177, 7 P.3d
   979, 983 (App. 2000).
   41
28    SOF ¶ 18.
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 1 previously been redacted.42 At this point, the Funds not only knew the job title, hours,
 2 and compensation of Southwest’s employees, they knew each employee’s name. The
 3 Funds cited this information from their audit as their basis for concluding that
 4 Southwest owed them money: “[The Funds] completed an audit of the Plaintiffs
 5 contributions to the Trust Funds, which showed that the Plaintiffs Trust Funds
 6 contributions were delinquent.”43 Thus, the Funds knew enough to bring their claim as of
 7 October 26, 2015.
 8            Of course, the Funds’ claim accrued long before it sent an auditor to Southwest’s
 9 headquarters. “[A]accrual requires only … constructive knowledge of the fact of
10 damage, [not knowledge of the] amount of damage.”44 But even after the Funds’
11 awareness of their claim progressed from constructive knowledge (which is itself
12 sufficient to bring a claim) to actual knowledge on October 26, 2016, the Funds waited
13 more than a year to file suit. When they finally filed on October 28, 2016, their claim
14 was untimely.
15 3.         Conclusion.
16            Long after the relevant work was completed in December of 2014, the Funds are

17 seeking to impose an obligation that Southwest never agreed to. Even if the claim was
18 otherwise legitimate (it is not), it is time barred. The Funds’ claim is not subject to the
19 discovery rule, so the claim automatically accrued when the work was performed (i.e.
20 September 2013-December 2014). What’s more, the Union has always known that
21 Southwest had its own employees, so they knew or should have known of the unpaid
22 claim within a month after the work was performed. They also knew of the claim when
23 they expressly referenced Southwest employees as of June 4, 2015, and they had actual
24 knowledge of their claim when they discovered the actual names of Southwest’s
25
     42
      SOF ¶ 19.
26   43
      Defendants' Motion to Dismiss Pursuant to FRCP 12(B)(3), (6), (7), or, in the
   Alternative,
27 44           to Stay Action 3:12-13 (Doc 14).
      CDT, Inc. v. Addison, Roberts & Ludwig, C.P.A., P.C., 198 Ariz. 173, 177, 7 P.3d
28 979, 983 (App. 2000).
     CORE/3008422.0002/131133167.2
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 1 employees during their onsite audit of Southwest’s records on October 26, 2015. Thus,
 2 the Funds’ claim was time-barred (in spades) when they filed their lawsuit October 28,
 3 2016. Accordingly, Southwest is entitled to and respectfully requests that the Court
 4 grant summary judgment dismissing the Funds’ claims.
 5            RESPECTFULLY SUBMITTED 14th day of February 2017.
 6                                             STINSON LEONARD STREET LLP
 7
                                        By:    /s/ James E. Holland, Jr.
 8
                                               James E. Holland, Jr.
 9                                             Javier Torres
                                               1850 North Central Avenue, Suite 2100
10                                             Phoenix, Arizona 85004-4584
                                               Attorneys for Southwest Industrial Rigging
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                                     CERTIFICATE OF SERVICE
 1
 2            I hereby certify that on February 14, 2017 I caused the foregoing document to be

 3 filed electronically with the Clerk of Court through ECF; and that ECF will send an e-
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 6            Daniel Shanley
              DeCarlo & Shanley
 7            533 South Freemont Avenue, Ninth Floor
              Los Angeles, California 90071-1706
 8            dshanley@deconsel.com
 9
10
11                                              /s/ Celia Munguia

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